       Case 3:18-cr-05029-W  ( ) Document 18 Filed 11/20/18 PageID.47 Page 1 of 1
AO   455 (Rev. 01/09) Waiver ~n Indictment




                       UNITED STATES DISTRICT COURT!                         NOV 2 \) 2018

                     SOUTHERN DISTRICT OF CALIFORN ACLi;:RI<, US.               DISTRiCTCOLIRT
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 UNITED STATES OF AMERICA,

                            Plaintiff,           Case No.

         v.                                      WAIVER OF AN INDICTMENT

 AUSTIN TRAVIS DEMPSEY,

                            Defendant.




        I understand that I have been accused of one or more offenses

punishable by imprisonment for more than one year.                         I was advised

in open court of my rights and the nature of the proposed charges

against me.

        After receiving this advice,          I waive my right to prosecution

by indictment and consent to prosecution by information.



DATED:
                                              Defendant


DATED:                                           ~~y
                                              Defendant's Attorney
